Exhibit A
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                              Case No. 19-cv-02689 (LLS)
DRESSER-RAND COMPANY,

                       Plaintiff,

            v.

PETRÓLEOS DE VENEZUELA, S.A. et al.,

                        Defendants.




                       Expert Report of Stephanie Rice




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I.     Summary of Qualifications

       I am the Founder and Managing Partner of Vigilance Consulting Group, a consulting firm

that advises clients on complex sanctions and financial crimes matters, compliance program

development and testing, training, and risk management. I have over ten years of public and

private sector experience analyzing complex economic sanctions matters as an investigator, bank

compliance officer, and consultant.

       I have a Bachelor of Arts degree from the Elliot School of International Affairs at The

George Washington University. From 2007 to 2012, I was a Sanctions Enforcement Investigator

with the U.S. Department of the Treasury’s Office of Foreign Assets Control (“OFAC”), where I

investigated potential violations of U.S. sanctions programs and pursued enforcement actions

against banks, exporters, and other parties in connection with their sanctions-related misconduct.

During my time at OFAC, I worked on multi-agency investigations of criminal activity relating to

sanctions evasion schemes, terrorism financing, and money laundering, and provided sanctions-

related training to other agencies in the U.S. government. A substantial portion of my work at

OFAC focused on the Cuban and Iranian sanctions programs, which were the most comprehensive

and complex programs in effect at that time.

       Following my time at OFAC, I held senior positions with several global financial

institutions, including (i) Vice President and Manager of Global Sanctions Compliance Advisory

at JP Morgan Chase & Co., (ii) Director and Head of Sanctions Compliance at Commerzbank AG,

and (iii) Director and Head of U.S. Sanctions Compliance at Bank of Tokyo Mitsubishi UFJ, Ltd.

In these roles, I was tasked with, among other responsibilities, overseeing and executing

compliance with U.S. sanctions programs within the Americas and globally, liaising with OFAC,

and supervising compliance investigations, screenings, escalations, licensing, and reporting.




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           In addition to my professional work experience, I have participated in numerous

seminars, conferences, and trainings, both as an attendee and a speaker/trainer, and subscribe to

and read various professional and trade publications covering economic sanctions, financial

crimes, anti-money laundering, compliance, anti-corruption, and banking. The sources for these

materials are varied, but include The Association of Certified Anti-Money Laundering Specialists,

and The Association of Certified Fraud Examiners, among others. In forming the opinions that

follow, I relied on my education and extensive practical knowledge of sanctions-related topics. I

am fully familiar with the United States’ Venezuela sanctions program. I was responsible for

developing and implementing policies, procedures, and controls for compliance with Executive

Order 13808 (“E.O. 13808”)—the sanctions program1 at issue here—while I was Director and

Head of U.S. Sanctions Compliance at Bank of Tokyo Mitsubishi UFJ, Ltd. My responsibilities

in this role also included providing guidance and issuing final determinations on banking activities

that implicated E.O. 13808.

        In performing this engagement, I have been compensated at the rate of $585 per hour. My

compensation is not contingent on the results of my report, my testimony, or the outcome in this

matter. My curriculum vitae is attached as Appendix A.

II.     Assignment

        I have been asked by counsel for Plaintiff Dresser-Rand Company (“D-R”) to review and

provide my opinion on arguments by Petróleos de Venezuela, S.A. (“PDVSA”) concerning

PDVSA’s failure to make payments due and owing to D-R under the Note Agreement (as

hereinafter defined). It is my understanding that the parties dispute several issues, including



1
  Although multiple documents produced in discovery refer to E.O. 13808 as “blocking sanctions,” it is more accurate
to describe E.O. 13808 as a “targeted sanctions” program because it prohibits certain “targeted” activities and does
not authorize or impose the blocking of property.


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whether it was impracticable and/or impossible for PDVSA to direct payments to D-R following

the imposition of certain Venezuelan sanctions by the United States government in August 2017.

For purposes of my engagement, I was asked to opine on whether the United States’ Venezuela

sanctions program precluded D-R from making payments in connection with the Note Agreement

during the period of October 2017 through February 21, 2019.

           Unless otherwise indicated, all statements and opinions in this report are based on my

personal knowledge and experience in the economic sanctions and compliance industry and my

review of materials and other information set forth herein in preparing this report. If called to

testify as an expert witness in this matter, I could and would competently testify as to the opinions

and conclusions stated in this report.

III.       Information Reviewed

           In preparing this report, I reviewed U.S. sanctions laws and regulations and publicly

available information published by OFAC concerning U.S. sanctions. In addition, I reviewed

pleadings from this litigation, deposition testimony of fact witnesses, and documents produced in

discovery. A list of documents that I considered in forming my opinions is attached as Appendix

B. To the extent that I review additional relevant materials, I reserve the right to revise,

supplement, or supersede the opinions set forth in this report.

IV.        Relevant Factual Background

           On January 27, 2017, D-R, as Initial Noteholder, entered into a Note Agreement (“Note

Agreement”), pursuant to which PDVSA agreed to pay certain amounts reflected in a Note dated

January 20, 2017 (the “Note”).2          These amounts included the principal sum of USD

$119,645,069.70, plus interest at a rate of 6.5% per annum, payable quarterly on each day



2
    Note Agreement, Art II, § 2.02.


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described on the payment schedule in the Note.3 Based upon the payment schedule set forth in the

Note, PDVSA was required to make quarterly interest payments for one year beginning on April

20, 2017 and thereafter, quarterly principal payments in addition to quarterly interest payments.4

Petróleo, as Guarantor, absolutely, irrevocably, and unconditionally guaranteed PDVSA’s

payment obligations under the Note and Note Agreement.5

        Under Section 2.08 of the Note Agreement, all principal and interest payments made by

PDVSA under the Note were to be made “solely and exclusively in Dollars,” to D-R. Under

Schedule 2.08 of the Note Agreement, D-R designated its corporate bank account (the “Citi

Account”) at Citibank N.A. (“Citi”) as an account that PDVSA could direct payments to.6

        On or about April 21, 2017, PDVSA made the first quarterly interest payment due under

the Note in the amount of $1,917,599.06 from its account at China CITIC bank (“China CITIC”)

into the Citi Account.7 On or about July 10, 2017, PDVSA made the second quarterly interest

payment due under the Note in the amount of $1,938,905.72 from its account at China CITIC into

the Citi Account.8

        On August 24, 2017, President Trump issued E.O. 13808. E.O. 13808 states, in relevant

part:

        Section 1. (a) All transactions related to, provision of financing for, and other
        dealings in the following by a United States person or within the United States are
        prohibited:
               (i) new debt with a maturity of greater than 90 days of [PDVSA];
               (ii) new debt with a maturity of greater than 30 days, or new equity, of the
                    Government of Venezuela, other than debt of PDVSA covered by
                    subsection (a)(i) of this section[.]9

3
  Note Agreement, Art. II § 2.03.
4
  Note at Ex. A.
5
  Note Agreement, Art. IV.
6
  Note Agreement, Art. II §2.08, Schedule 2.08.
7
  DRESSER_0020532.
8
  DRESSER_0003765.
9
  Exec. Order No. 13808, 82 Fed. Reg. 41155 (Aug. 25, 2017).


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        PDVSA’s third quarterly interest payment in the amount of $1,960,212.37 was due on

October 20, 2017.10 It is my understanding that PDVSA did not make a payment under the Note

on that date.11

        On or about November 21, 2017—one month after the third quarterly payment was due—

PDVSA attempted to make the third quarterly interest payment into the Citi Account from its

account at China CITIC (the “November 21 Payment”).12 However, Deutsche Bank, which acted

as intermediary to facilitate the transfer of the funds from China CITIC to Citi, rejected the

payment on the basis of its internal policy.13 Deutsche Bank’s SWIFT message relating to the

November 21 Payment states:

        PLEASE BE ADVISED THAT WE WERE UNABLE TO EXECUTE YOUR
        PAYMENT ORDER[.] PAYMENT REJECTED ON THE BASIS OF INTERNAL
        DEUTSCHE BANK POLICY. HC00034425.
        WE HAVE THEREFORE CANCELLED YOUR PAYMENT ORDER WITH NO
        ENTRIES PROCESSED. WE CONSIDER YOUR PAYMENT INSTRUCTION
        NULL AND VOID.14

On November 22, 2017, China CITIC informed PDVSA that the November 21 Payment had been

rejected on this basis.15

        Thereafter, on December 18, 2017, PDVSA informed D-R that the November 21 Payment

had been rejected, and asked D-R to provide PDVSA with an account at a different bank given

PDVSA’s difficulties transferring funds into the Citi Account.16 On December 27, 2017, D-R

emailed PDVSA the information of a Commerzbank AG (“Commerzbank”) account located in




10
   Note at Ex. A.
11
   Affidavit of Erik Scherzer dated February 26, 2019 (ECF No. 1-2), ¶ 7; DRESSER_0004239; DRESSER_0059592.
12
   DRESSER_0059847.
13
   SWIFT message dated November 21, 2017.
14
   SWIFT message dated November 21, 2017.
15
   DRESSER_0059847.
16
   DRESSER_0059845.


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Munich, Germany capable of accepting payments in U.S. dollars.17 On January 19, 2018, D-R

followed up with PDVSA and reiterated that the Commerzbank account was “active for making

transfers in [U.S. dollars].”18 It is my understanding that PDVSA did not respond to D-R’s inquiry

regarding the Commerzbank account.

        On January 31, 2018, PDVSA made another attempt to pay the third quarterly interest

payment into the same Citi Account (the “January 31 Payment”) that it attempted to make the

payment on November 21, 2017.19 Based on my review of a SWIFT payment receipt dated January

31, 2018, it appears that Dinosaur Merchant Bank Limited (“DMBL”) was the originating bank on

that transaction.20 On February 2, 2018, Citi informed D-R that Citi did not receive the January

31 Payment.21 Citi also explained to D-R that PDVSA, as “originator of the payment[,] will need

to have this investigated from their side in order to determine why funds have not transmitted.”22

That same day, D-R forwarded Citi’s communication to PDVSA and asked PDVSA to consult

with DMBL to determine why the January 31 Payment was not transmitted into the Citi Account.23

        On February 12, 2018, PDVSA attempted to pay $1,960,187.37 into the Citi Account (the

“February 12 Payment”). Based on my review of materials produced by Citi, my understanding

is that the February 12 Payment originated from DMBL and was transmitted through DMBL’s

correspondent bank, JP Morgan Chase Bank (“JP Morgan”).24 The record reflects that JP Morgan

processed the payment from DMBL, and then transferred the funds to Citi. Following Citi’s

receipt of the February 12 Payment, Citi placed the funds into an “OFAC sundries account” for



17
   DRESSER_0059844.
18
   DRESSER_0059844.
19
   DRESSER_0061897.
20
   DRESSER_0061898.
21
   DRESSER_0004257.
22
   DRESSER_0004257.
23
   DRESSER_0004256.
24
   Swift Payment Transaction .pdf and Rejected Transactions excel produced by Citi.


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the bank’s internal review.25 Citi explained that it performed a two-part test to determine (i)

whether the February 12 Payment was compliant with existing OFAC regulations and (ii) whether

the February 12 Payment passed Citi’s risk appetite policy. Citi explained that the February 12

Payment passed Citi’s OFAC compliance test, but failed Citi’s risk appetite test.26

        On February 20, 2018, PDVSA requested that D-R open a bank account at Novobank to

receive payments by PDVSA under the Note in Euros.27 On March 2, 2018, D-R informed PDVSA

that D-R was in a position to accept payment under the Note in Euros and to open an account at

Novobank.28 D-R, however, also explained to PDVSA that the parties needed to first amend

Section 2.08 of the Note Agreement, which required all payments under the Note to be made solely

and exclusively in U.S. Dollars.29 D-R drafted an amendment to the Note Agreement to permit

PDVSA to make payments under the Note in Dollars and/or Euros, and on March 2, 2018, emailed

that amendment to PDVSA.30 It is my understanding that D-R sent multiple follow-up emails to

PDVSA after this March 2, 2018 email, but never received a response from PDVSA regarding the

proposed amendment to the Note Agreement.31 I also understand that PDVSA did not successfully

make any payments under the Note after July 2017.32

        On February 14, 2019, D-R sent Defendants a Notice of Default.33 One week later, on

February 21, 2019, D-R sent Defendants a Notice of Acceleration, declaring all unpaid money

under the Note to be due and payable in full.34



25
   Deposition of Raymond G. dated October 1, 2020 (“Romano Dep. Tr.”) (35:13-34).
26
   Romano Dep. Tr. (76:9-12).
27
   DRESSER_0004337-8.
28
   DRESSER_0004337.
29
   DRESSER_0004337.
30
   DRESSER_0004341-47.
31
   DRESSER_0060240; Reply Declaration of Erik Scherzer dated December 29, 2019 (ECF No. 57), ¶ 20.
32
   Reply Declaration of Erik Scherzer dated December 29, 2019 (ECF No. 57), ¶ 11.
33
   DRESSER_0061901-2.
34
   Notice of Acceleration dated February 21, 2019 (ECF No. 58-8).


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V.     Summary of Opinions

       A. E.O. 13808 Did Not Impact PDVSA’s Payment Obligations Under The Note

       E.O. 13808 imposed certain restrictions on debt issued by PDVSA on or after August 25,

2017, referred to in the executive order as “new debt.” E.O. 13808 did not impose restrictions on

debt issued by PDVSA prior to August 25, 2017. Because the Note and the Note Agreement were

issued by PDVSA in January 2017, they were not subject to the prohibitions on “new debt” set

forth in E.O. 13808 and, as such, dealings in or related to the Note and the Note Agreement

continued to be legally permissible following the imposition of E.O. 13808. Thus, PDVSA’s

repayment obligations under the Note Agreement were not made impossible by E.O. 13808.

       B. Banks Are Free To Impose More Stringent Protocols Relating To OFAC
          Regulations Based On Their Risk Assessment

       Banks adopted diverse risk appetite policies in response to E.O. 13808 that were, in several

areas, inconsistent with E.O. 13808 requirements. For example, Citi and DB implemented risk

policies that were more restrictive than E.O. 13808 and called for the banks to reject legally

permissible transactions involving PDVSA. Guided by these risk policies, DB rejected the

November 21 Payment, and Citi rejected the February 12 Payment, despite the fact that these

payments were permissible transactions under E.O. 13808. Citi and DB’s decisions to reject these

payments for risk policy reasons were not representative of how other banks handled payments

involving PDVSA at the time. Indeed, JPMorgan processed the very same PDVSA transaction

that Citi subsequently rejected for risk appetite reasons. Thus, while the varying risk approaches

that banks adopted with respect to E.O. 13808 may have led to some banks rejecting legally

permissible payments involving PDVSA, other banks were processing such payments, as they

were legally permitted to do.




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        C. D-R Provided PDVSA Several Viable Alternatives To Facilitate Payment Under
           The Note

        After Citi and DB rejected PDVSA’s payments to D-R—which were otherwise permissible

under E.O. 13808—D-R worked with PDVSA to arrange alternative payment channels for

effecting the 3rd and 4th installment payments under the Note and Note Agreement. A first

alternative was for PDVSA to issue payment in USD to a bank account held by Siemens with

Commerzbank in Germany. A second alternative was for PDVSA to issue payment in EUR to a

Novobank account opened by D-R expressly for the purpose of facilitating repayment under the

Note Agreement. Both options provided PDVSA with practical, feasible routes for effecting

repayment under the Note Agreement. The Novobank option, in particular, offered a high degree

of reliability since both PDVSA and D-R would have been using the same bank, and thus avoided

the obstacles encountered by the parties with prior payments that were rejected for risk policy

reasons. However, PDVSA did not use either of the two alternative payment channels to issue

repayment to D-R under the Note Agreement.

        D. PDVSA’s Repayments Under the Note and Note Agreement Were Authorized
           Concurrent to PDVSA’s SDN Designation

        On January 28, 2019, and August 5, 2019, the U.S. government imposed new blocking

sanctions on PDVSA. Pursuant to the blocking sanctions, U.S. persons were, and still are,

prohibited from engaging in any activity or transaction with PDVSA unless exempt or otherwise

authorized by OFAC.35 Any dealings related to the Note and the Note Agreement became

prohibited as of January 28, 2019. However, the U.S. government issued general licenses

concurrent with the January 28, 2019 and August 5, 2019 blocking sanctions, which made it

permissible to engage in certain transactions and activities related to the Note and the Note


35
   Exec .Order No. 13857, 84 Fed Reg. 509 (January 25, 2019); Exec. Order No. 13884, 84 Fed. Reg. 38843 (Aug.
5, 2019).


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Agreement. Among other things, the general licenses authorized PDVSA’s repayment under the

Note Agreement (as already existing debt) from the time blocking sanctions were first imposed on

PDVSA on January 28, 2019.36

VI.     Bases And Reasons For Opinions

        A. Background on E.O. 13808

        E.O. 13808, effective August 25, 2017, imposed certain debt and equity-related sanctions

on the Government of Venezuela (“GoV”), including its state-owned oil company, PDVSA.37

        Subsection 1(a)(i) of E.O. 13808 prohibits “U.S. persons or persons subject to U.S.

jurisdiction from engaging in transactions related to, providing financing for, or otherwise dealing

in new debt, with a maturity of longer than 90 days and issued by, on behalf of, or for the benefit

of PdVSA, its property, or its interests in property.”38 If a debt instrument of PDVSA is prohibited

by E.O. 13808, U.S. persons and persons subject to U.S. jurisdiction are broadly prohibited from

engaging in transactions or activities relating to that debt instrument. The prohibitions set forth in

this subsection apply not only to PDVSA, but also to its subsidiaries including Petróleo, a wholly-

owned subsidiary of PDVSA and the guarantor of the Note Agreement (collectively, “PDVSA

Entities”).39

        For purposes of E.O. 13808, the term “debt” includes bonds, loans, extensions of credit,

loan guarantees, letters of credit, drafts, bankers acceptances, discount notes or bills, or




36
   See e.g., General License 9. Authorizing Transactions Related to Certain Dealings In Securities, Department of
the Treasury (Jan. 29, 2018).
37
   Exec. Order No. 13808, 82 Fed. Reg. 41155 (Aug. 25, 2017).
38
    Exec. Order No. 13808, 82 Fed. Reg. 41155 (Aug. 25, 2017).
39
   OFAC guidance states that “for purposes of E.O. 13808, the prohibition in Subsection 1(a)(i) would apply to PdVSA
and extend to all PdVSA subsidiaries.” (Office of Foreign Assets Control. Frequently Asked Questions: Venezuela
Sanctions (No. 548). November 9, 2017. https://home.treasury.gov/policy-issues/financial-sanctions/faqs/topic/1581.
Accessed 11/2/20.) For the purposes of this section, any reference to PDVSA will refer to PDVSA as well as its
subsidiaries.


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commercial paper.40 OFAC has generally interpreted extensions of credit to include the extension

of payment terms to PDVSA Entities in the form of invoicing for the sale of goods or services to

PDVSA Entities.41

        Under E.O. 13808, the term “new debt” is any debt issued on or after August 25, 2017,

the effective date of E.O. 13808. In contrast, transactions in debt issued before August 25, 2017,

known as “pre-existing debt,” are not prohibited by E.O. 13808. Subsection 1(a)(i) of E.O.

13808—the section prohibiting transactions involving PDVSA Entities—applies only to “new

debt,” and thus pre-existing debt issued by PDVSA Entities is entirely outside the scope of E.O.

13808. In fact, to the best of my knowledge, at all times relevant to this case prior to January 28,

2019, there were no U.S. sanctions on the GoV that imposed restrictions on pre-existing debt issued

by the GoV.

        Thus, a debt instrument involving PDVSA Entities is prohibited by E.O. 13808 only if it

meets the following requirements: (1) it is “new debt” (issued on or after August 25, 2017); and

(2) it has a maturity of longer than ninety (90) days. If either requirement is not met, then the debt

is not within the scope of E.O. 13808 and is a permissible transaction.

        B. E.O. 13808 Did Not Impact PDVSA’s Payment Obligations Under the Note

        The Note and the Note Agreement involving PDVSA, Petróleo, and D-R both constitute

“debt,” as defined under E.O. 13808. But, in order to determine if the debt created under the Note

and Note Agreement is prohibited by E.O. 13808, one must consider if the Note and the

corresponding Note Agreement constitutes “new debt,” with an issuance date on or after August

25, 2017.


40
   Office of Foreign Assets Control. Frequently Asked Questions: Venezuela Sanctions (No. 511) July 19, 2018.
https://home.treasury.gov/policy-issues/financial-sanctions/faqs/topic/1581. Accessed 11/2/20.
41
   Office of Foreign Assets Control. Frequently Asked Questions: Venezuela Sanctions (No. 554). February 12, 2018.
https://home.treasury.gov/policy-issues/financial-sanctions/faqs/topic/1581. Accessed 11/2/20.


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        The Note and the corresponding Note Agreement were issued on January 20, 2017,42 seven

months prior to the effective date of E.O. 13808. Accordingly, both the Note and the Note

Agreement do not constitute “new debt.” All transactions and activities related to the Note and

the Note Agreement, including PDVSA’s payment obligations under the Note Agreement, are

therefore outside of scope of E.O. 13808. Said differently, E.O. 13808 did not restrict or otherwise

prohibit PDVSA from making repayments pursuant to the Note Agreement. PDVSA’s payments

due to D-R under the Note Agreement were therefore permitted under E.O. 13808 during the

period of August 25, 2017 to January 28, 2019.43

        C. Banks Are Free To Impose Protocols That Are More Stringent Than OFAC
           Regulations Based On the Banks’ Internal Risk Assessment

        E.O. 13808 is one of multiple U.S. sanctions programs administered by the U.S.

Department of Treasury’s Office of Foreign Assets Control or “OFAC” (collectively, “OFAC

Sanctions”). In order to comply with OFAC Sanctions, banks44 maintain comprehensive

compliance programs that include policies, procedures, and controls that serve one of two priorities

(or both): (i) regulatory compliance or (ii) risk management.                      To satisfy their regulatory

compliance obligations, banks establish minimum or “baseline” standards for “doing what is

required” and preventing sanctions violations. These minimum standards are generally similar for

all banks. On the other end of the spectrum, risk management involves assessing, controlling, and

mitigating sanctions-related risks through various means. Unlike regulatory compliance, each

bank’s risk management strategy and risk appetite can, and often does, vary significantly. Risk

appetite may be influenced by numerous factors including annual risk assessments, compliance


42
   Note Agreement at 1; Note.
43
   OFAC’s designation of PDVSA as a Specially Designated National on January 28, 2019, had separate implications
for the Note and the Note Agreement. These implications are discussed further in Section VII.
44
   All banks, regardless of jurisdiction, must comply with OFAC sanctions to the extent that their activities involve
the U.S. financial system or other nexus to the U.S.


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resources and capacity, market exposure, business priorities, governance, senior management

posture, and past regulatory issues, among other things. Thus, in some instances, the same

financial institution may have varying risk appetite policies within its different business units and

legal entities.45

         Risk management activities can, in a bank’s discretion, give rise to policies, measures, or

actions that are more restrictive than OFAC Sanctions. For example, a bank may reject certain

payments that exceed the bank’s risk appetite, despite the fact that such payments are not

prohibited by OFAC Sanctions and there is no other regulatory justification for the bank’s

rejection. Therefore, a bank’s decision to reject a payment does not necessarily indicate that the

payment is prohibited by sanctions regulations. DB’s and Citibank’s respective decisions to reject

the November 21 Payment and the February 12 Payment for risk appetite reasons,46 illustrate this

point and further demonstrate how each bank’s risk policies differed.

             i. Risk Appetite Policies Diverge Among Banks, and The Evidence Presented
                Here Shows That at Least One Bank’s Risk Appetite, at the Time, Allowed for
                the PDVSA Payment

         A review of documents relating to the November 21 Payment and the February 12 Payment

confirms that the banks involved applied diverging risk appetite policies with respect to

permissible transactions involving PDVSA.47 Although Citi’s and DB’s risk appetite policies do

not necessarily align with the banks’ regulatory obligations under E.O. 13808, their approaches to

the transactions are indicative of how each bank has chosen to manage risk in relation to E.O.


45
   See, e.g., Citi Policy at 1, which states that “Businesses and Functions may implement more stringent [sanctions]
standards based on risk tolerance and/or their discretion.” In other words, the Citi Policy acknowledges that risk
appetite may vary among individual business units and allows for business units to adopt standards or policies that are
more restrictive than the Citi Policy, based on their unique risk appetites.
46
   See SWIFT message dated November 21, 2017; Romano Dep. Tr. (76:9-12).
47
   As noted in Section VI(B), the Note Agreement constitutes “pre-existing” debt and PDVSA’s repayment under the
Note Agreement was not prohibited under E.O. 13808 because the Note Agreement constitutes “pre-existing” debt.
Thus the November 21 Payment, the January 31 Payment, and the February 12 Payment, which represent PDVSA’s
attempted third installment payment under the Note Agreement, were not prohibited by E.O. 13808.


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13808. Moreover, JP Morgan’s treatment of the February 12 Payment makes clear that acceptance

of PDVSA’s payment was not inconsistent with all banks’ risk appetite.

        It appears that DB rejected the November 21 Payment48 based on its “Venezuela Decision

Matrix” (“DB Matrix”),49 which relates to the bank’s policy with respect to how to treat

transactions involving a GoV entity at the time. The DB Matrix provides guidelines for when to

“pass/release” or “delete/reject”50 payments where (i) a “Gov of Ven” entity is involved on either

side of a transaction; (ii) the transaction has a U.S. nexus; and (iii) the transaction type is the

“[p]rovision of financing for Gov of Ven and other dealings in new debt” (“GoV New Debt

Transaction”). According to the DB Matrix, when a transaction is a GoV New Debt Transaction

and (a) the purpose of the transaction is unclear; and (b) the payment is a third-party transaction

where DB is “merely [the] intermediary,” DB’s analyst should “delete/reject” the transaction.51

        The DB Matrix separately provides that when a payment is a GoV New Debt Transaction

and (i) the purpose of the transaction is unclear; and (ii) the payment is for the benefit of a DB

client, then DB’s analyst should “pass/release” the transaction, after confirming with the

appropriate client that “no new financing or debt” was involved.52 The DB Matrix also provides

for other “pass/release” or “delete/reject” actions in relation to other types of GoV New Debt

Transactions. For example, the DB Matrix instructs a “delete/reject” action for “new financing

(after August 24, 2017) to [GoV] longer than permitted (>30/90d).”53 The DB Matrix, however,




48
   DRESSER_0059847.
49
   DBTCA000004.
50
   According to the Declaration of Angela Brogan on behalf of Deutsche Bank dated November 27, 2020 (the “Brogan
Decl.”), for the purpose of the DB Matrix, “pass/release” means “the analyst releases the transaction for further
processing”, and “delete/reject” means the funds are returned to the remitter.” See Brogan Decl. , ¶¶ 9-10.
51
   DBTCA000004.
52
   DBTCA000004.
53
   DBTCA000004.


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does not appear to address pre-existing debt or other activities wholly outside of the scope of E.O.

13808.

         In certain instances, DB’s guidelines are consistent with E.O. 13808 because they call for

“delete/reject” actions with respect to GoV New Debt Transactions that are prohibited under E.O.

13808 and instruct for “pass/release” actions where GoV New Debt Transactions do not appear to

be prohibited by E.O. 13808. However, in other instances, the DB Matrix is more restrictive than

E.O. 13808 because it calls for “delete/reject” actions where GoV New Debt Transactions (i) have

a purpose that is unclear and (ii) involve DB only as an intermediary bank. If the purpose of a

GoV New Debt Transaction is unclear, then it would also be unclear whether or not the transaction

is, in fact, prohibited by E.O. 13808.54              Thus, the DB Matrix appears to call for DB to

“delete/reject” certain GoV New Debt Transactions regardless of whether or not they are

prohibited by E.O. 13808. DB would have to further explore the purpose of a GoV New Debt

Transaction in order to accurately determine whether or not this type of transaction was in fact

prohibited under E.O. 13808.

         When a bank requires additional information in order to assess a particular transaction, it

is common practice for the bank to request additional information or documentation from the

remitter (often called a Request for Information, or “RFI”). RFIs are typically sent via SWIFT or

other interbank communication channels to the remitting bank, which then contacts its customer

with the request, and relays the information or documentation requested back to the inquiring bank.

Based on my experience, the RFI process is a routine aspect of sanctions compliance operations




54
   If, for example, the purpose of a GoV New Debt Transaction is repayment of “new debt” with a maturity of less
than 30 days, then it would not be prohibited under E.O. 13808 because the prohibitions in E.O. 13808(a) only apply
to “new debt” with a maturity exceeding 30 days. As a second example, if a GoV New Debt Transaction involved
prohibited “new debt” with a maturity date of greater than 90 days, but was related to the export of licensed medical
or agricultural goods to Venezuela, then it would be authorized.


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that banks engage in on a regular basis. The DB Matrix appears to skip this step, however, when

it instructs a “delete/reject” action for certain GoV New Debt Transactions where the purpose of

the transactions is unknown, instead of calling for additional information to be obtained in order

to make an accurate determination as to whether the transaction is prohibited under E.O. 13808.

        There are very compelling reasons for banks to accurately determine whether a transaction

is prohibited by OFAC Sanctions before deciding to the reject the payment for risk appetite

reasons. Namely, when a bank rejects a payment because it is prohibited by OFAC Sanctions, the

bank has a regulatory obligation to report the rejected transaction to OFAC within ten (10) business

days pursuant to OFAC’s Reporting, Procedures, and Penalties Regulations.55 Thus, if a bank

rejects a transaction for risk appetite reasons without first determining if the payment must be

rejected pursuant to OFAC Sanctions, there is a risk that the bank could fail to comply with

OFAC’s reporting requirements and potentially be subject to an OFAC enforcement action. For

this reason, it is fairly uncommon for banks to adopt risk appetite polices, like the DB Matrix, that

involve “blind” risk-based rejections without sufficient information available to fully assess the

purpose of payment before policy decisions are made. Indeed, Deutsche Bank has conceded that

the bank made no determination as to whether the transactions at issue involved “dealings in new

debt.”56

        Like the November 21 Payment, the February 12 Payment was rejected by Citi for internal

policy reasons, as indicated on the return payment instruction.57 Citi conceded that the February

12 Payment was not prohibited by OFAC Sanctions but that it nonetheless rejected the payment

due to the bank’s risk appetite at the time.58 In his deposition, Citi’s Chief Administrative Officer


55
   See 31 C.F.R. § 501.604.
56
   Brogan Decl., ¶¶ 19, 24.
57
   See SWIFT Payment Transaction.pdf produced by Citi.
58
   Romano Dep. Tr. (76:9-12).


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for Citi’s Latin America operation, Raymond G. Romano, explained the Citi policy in place at the

time:

        PDVSA transactions needed to be pre-cleared with Citi prior to processing with
        any of our clients. If a client wanted to process the transaction, they needed to be
        pre-cleared with us and authorized—the client had to be authorized to process those
        payments. If the client was not authorized to process the payment, the payments
        would be rejected.59

Thus, Citi’s risk appetite policy called for rejecting all payments with some exceptions being made

for clients. That is, Citi’s policies allowed select clients of Citi who had gone through an exception

process to transact with PDVSA. To be entitled to the exception, Citi’s select clients were required

to complete a certification and undergo a due diligence process.60 Banks will often adopt an

exception process like Citi’s or other measures that allow clients to engage in certain transactions

that would otherwise be outside the bank’s risk appetite. This process ensures that risk restrictions

do not have unintended negative consequences for the bank or its clients. It bears noting, however,

that being pre-cleared by a bank (which, again, is not required by E.O. 13808) does not guarantee

that all transactions will be approved.

        While DB’s risk appetite partly aligned with E.O. 13808 and was more restrictive with

respect to certain payments,61 Citi’s risk appetite went notably further in calling for the rejection

of virtually all E.O. 13808-permitted payments involving PDVSA with limited exceptions. Citi’s

risk appetite was therefore even more divergent from E.O. 13808 than DB’s risk appetite, although

both were more restrictive that what E.O. 13808 required.

        Conversely, JP Morgan’s treatment of the February 12 Payment appears to indicate that

the bank had a more lenient risk appetite with respect to transactions involving PDVSA than both


59
   Romano Dep. Tr. (41:11).
60
   Romano Dep. Tr. (49:2-23).
61
   As noted previously, the DB Matrix was more restrictive than E.O. 13808 with respect to GoV New Debt
Transactions (i) having an unclear purpose of payment, and (ii) involving DB only as an intermediary bank.


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Citi and DB. Specifically, JP Morgan processed the February 12 Payment as an intermediary

bank,62 which suggests that JP Morgan did not have a specific risk policy in effect at the time that

would have caused JP Morgan to reject the February 12 Payment.

        As a large and highly-sophisticated U.S. bank with an exemplary compliance program, it

is highly unlikely that JP Morgan would adopt a reckless or unusually high-risk posture with

respect to the processing of payments on behalf of PDVSA, or in any matter concerning sanctions

risk for that matter. If anything, institutions like JP Morgan are relatively conservative when it

comes to sanctions risk. Said differently, based on my experience, it is unlikely that JP Morgan—

with its relatively conservative approach on sanctions risk—would have processed a payment that

was not E.O. 13808 compliant.

        As reflected by the variation in how DB, Citi, and JP Morgan handled payments involving

PDVSA, and based on my personal experience as a Sanctions Compliance Director during and

after E.O. 13808 was implemented, U.S. banks took a wide range of differing positions with

respect to transactions involving PDVSA. Indeed, I am also aware that after E.O. 13808 was

issued, other banks in addition to JP Morgan, both in the U.S. and abroad, were regularly

processing payments involving the GoV that were permitted by E.O. 13808. In fact, in my role at

Bank of Tokyo Mitsubishi, I approved the processing of permitted transactions involving PDVSA.




62
   SWIFT Payment Transaction.pdf produced by Citi. The February 14, 2018, payment instruction for Citi’s rejection
of the February 12 Payment indicates that the funds are being returned by Citi to JPMorgan, as the “Receiver DI” in
field 3400. This means that JPMorgan was the intermediary or “correspondent” bank that initially processed and sent
the February 12 Payment to Citi. When a payment is rejected, the routing of the original payment is simply reversed
in order to return the funds back to the originator.


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              ii. The Policies Produced By the Banks In Relation to E.O. 13808 Have Scopes
                  Different Than E.O. 13808

         Citi and Commerzbank produced what they purport to be their respective policies with

respect to the receipt or transfer of funds from PDVSA or Petróleo at the time at issue.63

         Citi, for example, produced its Global Operating Standard for Sanctions Matches (version

2.0) (the “Citi Policy”), effective October 6, 2017.64 Section 2.1 of the Citi Policy explains that

the Citi Policy “establishes process requirements for detection, investigation, escalation, and

actions related to the resolution of sanctions matches.” 65 In other words, the Citi Policy sets forth

Citi’s general process for (i) reviewing payments that have “sanctions matches” for regulatory or

risk appetite reasons, and (ii) taking appropriate action in order to resolve those payments.

         Section 2.1 of the Citi Policy provides instructions on escalating alerts and explains that

“potential matches under US sanctions”66 must be escalated to “ICRM Level 3 Compliance,”67

which “determines applicable sanctions requirements and the appropriate course of action.”68 As

set forth in Section 2.8.4, one possible course of action is to “[c]ancel [the transaction] for

regulatory or Sanctions Policy/risk appetite reasons (regulatory reporting not required),” and

another course of action is to “[r]eject [the transaction] (regulatory reporting required)” pursuant



63
   My understanding is that other than the “Venezuela Decision Matrix” discussed above, DB, did not produce any
other documents reflecting any of the bank’s policies with respect to the receipt or transfer of funds of PDVSA or
Petróleo. Further, as I understand it, there was no third-party discovery sought from JP Morgan.
64
   Citi Policy.
65
   Citi Policy § 2.1. As part of their sanctions compliance programs, banks monitor all inbound and outbound
transactions before they are processed in order to detect any transactions involving entities or activities prohibited by
OFAC Sanctions or falling outside the bank’s risk appetite. To accomplish this, all transaction data is electronically
scanned for certain names or other information that may indicate a sanctions issue. The scanning process is referred
to as “sanctions screening”; and a transaction identified as containing a reference to a potential sanctions issue is
called an “alert” or “sanctions match”.
66
   The Citi Policy defines “potential match” as “a sanctions match that is pending full investigation and final resolution,
or that has been identified as potentially being related to the item against which the match has been generated and
pending confirmation by Level 3 Compliance. Citi Policy, § 2.1, FN 12.
67
   Section 2.7.3 of the Citi Policy indicates that “Level 3 Compliance” is responsible for “final decision-making” on
alerts escalated for review.
68
   Citi Policy § at 2.1.


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to OFAC Sanctions or other regulatory requirements.69                    Other courses of action include:

“[p]rocessing [the transaction]” if the transaction qualifies as either “Licensed/Exempt or

Authorized Transactions (regulatory reporting may be required)” or as “Out of Scope of the

Sanctions Program (regulatory reporting may be required); and “[b]lock[ing]/[f]reez[ing] [the

transaction] (regulatory reporting required)” pursuant to OFAC Sanctions or other regulatory

requirements.70

        While these sections capture Citi’s documented process for escalating payments with

“sanctions matches,” and explain the different courses of action Citi may apply to such payments,

the Citi Policy does not address how the bank applies this process in relation to E.O. 13808.

Instead, the Citi Policy describes how all payments containing “sanctions matches” are handled,

regardless of the “sanctions match” type (such as E.O. 13808 or another OFAC Sanctions program

or risk policy). Thus, the Citi Policy does not provide clarity regarding the bank’s compliance

with E.O. 13808 requirements or its risk appetite related to PDVSA.

        Commerzbank produced multiple versions of three separate policies,71 including its Global

Sanctions Policy, Global Sanctions Screening Policy, and Business Policy Restrictions for

Venezuela.72       The Global Sanctions Policy (Version 1.2),73 valid as of July 3, 2017

(“Commerzbank Global Sanctions Policy”), and Global Sanctions Screening Policy (Version 1),74

valid as of December 15, 2017 (“Commerzbank Global Screening Policy”), establish the bank’s

global minimum requirements for sanctions compliance and sanctions screening, respectively, at



69
   Citi Policy, § 2.8.4.
70
   Citi Policy, § 2.8.4.
71
   This report only addresses Commerzbank policies that were in effect during the relevant time period from August
25, 2017 to January 28, 2019.
72
   The “document details” section of all three Commerzbank policies identify the Regional Scope” as “Commerzbank
worldwide.” This language indicates that all three Commerzbank policies applied globally.
73
   CBNY00025-50.
74
   CBNY00136-158.


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the time at issue. Like the Citi Policy, both the Commerzbank Global Sanctions Policy and

Commerzbank Global Screening Policy set out high-level standards and processes for the bank,

but do not specifically address E.O. 13808 or other individual sanctions programs. However, the

Commerzbank Global Sanctions Policy explains that the bank will implement “Special Country

Restrictions,” such as the Business Policy Restrictions for Venezuela, in order to manage risk

related to specific countries.75 These Special Country Restrictions “apply independently of any

existing legal or regulatory restrictions applicable from time to time and within any location

pertaining to business conducted with an individual country”76 and to the extent they deviate from

other applicable restrictions, “the stricter [restrictions] shall apply.”77

        Commerzbank’s “Business Policy Restrictions for Venezuela” (Version 1), effective April

30, 2018 (the “Commerzbank Venezuela Policy”), sets forth the bank’s Special Country

Restrictions for Venezuela and imposes certain restrictions in the areas of “business relationships,”

as well as “[p]roducts, services, and transactions.”78 While the Commerzbank Venezuela Policy

applies certain restrictions to the same entities targeted under E.O. 13808, namely all GoV

entities,79 it also applies restrictions to persons and entities outside the scope of E.O. 13808,

including “any natural person with domicile or residence in Venezuela.”80 Thus, the Venezuela

policy does not necessarily align with E.O. 13808.

        As another example, the prohibition on all payments to “Venezuelan persons, organisations

or institutions”81 in Section 3.3 of the Commerzbank Venezuela Policy is more restrictive than



75
   Commerzbank Global Sanctions Policy, § C.3.9 (CBNY00045).
76
   Commerzbank Global Sanctions Policy, § C.3.9 (CBNY00045).
77
   Commerzbank Global Sanctions Policy, § C.3.9 (CBNY00046); Commerzbank Global Screening Policy, § B.3.3
(CBNY00145).
78
   Commerzbank Venezuela Policy, §§ 2-3 (CBNY00248-49).
79
   Commerzbank Venezuela Policy, § 1 (CBNY00245).
80
   Commerzbank Venezuela Policy, § 1 (CBNY00245).
81
   Commerzbank Venezuela Policy, § 3.3 (CBNY00249).


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E.O. 13808 because it broadly restricts almost any payment to a Venezuelan beneficiary.82

Additionally, Section 2.1 of the Commerzbank Venezuela Policy prohibits the bank from entering

into new business relationships with “Venezuelan legal persons, organisations or institutions”83,

which goes far beyond the requirements of E.O. 13808. Indeed, as noted in the Commerzbank

Global Screening Policy, Special Country Restrictions such as the Commerzbank Venezuela

Policy may deviate from other applicable regulations and policies and are not necessarily meant

to align with these related directives.84

         Collectively, the policies produced by Citi and Commerzbank demonstrate that the banks

have specific written policies related to their sanctions programs and in the case of Commerzbank,

specific risk policies related to Venezuela. However, the policies produced do not provide for an

understanding of how the banks approach regulatory compliance with E.O. 13808, and also do not

indicate that the banks have consistent risk policies with respect to E.O. 13808 or PDVSA.

         D. D-R Provided PDVSA Several Viable Alternatives To Facilitate Payment Under
            The Note

         Following DB’s rejection of the November 21 Payment,85 PDVSA and D-R began

discussing possible alternative arrangements for effecting the payments owed by PDVSA under

the Note.86      At PDVSA’s request, D-R provided PDVSA with two viable alternatives for

facilitating the third and fourth installment payments due under the Note. Both alternatives

provided PDVSA with a possible work-around to the issues encountered with the November 21



82
    The Commerzbank Venezuela Policy defines “Venezuelan persons, organisations or institutions” as “i) the
Venezuelan state and any public authority of this state; ii) any natural person with residence or domicile in Venezuela;
iii) any legal person, organisation or institution having its registered office in Venezuela; iv) any legal person,
organisation or institutions inside or outside Venezuela, owned or controlled directly or indirectly by one or more of
the above mentioned persons, organisations or institutions.” Commerzbank Venezuela Policy § 1 (CBNY00245).
83
   Commerzbank Venezuela Policy, § 2.2 (CBNY00248).
84
   Commerzbank Global Screening Policy § B.3.3 (CBNY00145).
85
   See SWIFT message dated November 21, 2017.
86
   See DRESSER_0059844-0059845; DRESSER_0004332; DRESSER_0004337.


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Payment and February 12 Payment, namely the rejection of transactions due to the selective risk

policies of certain banks. As evidenced by JP Morgan’s processing of the February 12 Payment,

banks within the U.S. were processing PDVSA payments at the time the third and fourth

installment payments became due. Indeed, when a large U.S clearing bank such as JP Morgan is

processing certain types of payments, it is a good indication that others are as well.

             i. Siemens Bank Account with Commerzbank in Munich, Germany

        The first alternative that D-R offered was for PDVSA to make payment through an account

held by D-R’s parent company, Siemens, with Commerzbank in Munich, Germany. In December

201787 and January 2018,88 D-R provided PDVSA with information for a USD account held by

Siemens at Commerzbank.

        None of the documents available during discovery demonstrate that Commerzbank had

policy restrictions in place in December 2017 and January 2018 with respect to PDVSA. As noted

above, Commerzbank first introduced specific policy restrictions for Venezuelan organizations in

the Commerzbank Venezuela Policy, effective April 30, 2018.89 This was implemented several

months after D-R provided Siemens’ Commerzbank account information to PDVSA.

        Moreover, Section 3.3 of the Commerzbank Venezuela Policy, which imposes restrictions

relating to “[t]ransfers of funds and other transactions,” does not restrict payments originating from

“Venezuelan persons, organisations or institutions” provided that the beneficiary is not a

Venezuelan person, organisation or institution.90 Thus, it appears likely that even after the

Commerzbank Venezuela Policy became effective on April 30, 2018, repayments by PDVSA



87
   DRESSER_0059844-45
88
   DRESSER_0059844.
89
   As noted above, the language of this Policy indicates that it applied globally to all Commerzbank Group entities,
including all branches and offices.
90
   As noted previously, Section 3,3 of the Commerzbank Venezuela Policy does prohibit transactions to “Venezuelan
persons, organisations or institutions.”


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under the Note Agreement would have been permitted under the bank’s policies. Accordingly, the

Commerzbank account D-R provided to PDVSA offered a practical alternative, consistent with

the Note Agreement, for effecting the third and fourth installment payment due by PDVSA.

             ii. Payment in EUR via Novobank

         The second alternative that was contemplated by the parties was for PDVSA to make

repayments under the Note in EUR rather than USD via Novobank in Portugal. On February 20,

2018, PDVSA asked D-R if it would be open to receiving payment in EUR instead of USD, and

further requested that D-R open a EUR-denominated account with Novobank in which to receive

the EUR payments.91 In his deposition, D-R’s corporate designee Erik Scherzer, Head of Credit

Collections at D-R, stated that he believed Novobank was proposed as a banking option by PDVSA

because PDVSA had a good relationship with the bank, and it was thought the bank would be

willing to work with PDVSA.92

         Novobank presented a viable option for effecting the payments because, had PDVSA

attempted to make the payment through Novobank, PDVSA and D-R would have been using the

same bank.93 A transfer between two accounts at the same bank is called an “intrabank transfer.”

From a risk policy standpoint, intrabank transfers are subject to the risk policies of only one bank,

as opposed to those of multiple banks. This means intrabank transfers are less vulnerable to

inconsistent risk appetites and policy rejections, as was the case with the February 12 Payment.94

Further, PDVSA’s existing relationship with Novobank indicates that the bank did not have a risk

averse posture concerning PDVSA. It would be contradictory for the bank’s risk appetite to (1)


91
   DRESSER_0004438.
92
   Deposition Transcript of Erik Scherzer dated October 9, 2020 (“Scherzer Dep. Tr.”) (56:18-22).
93
   Banks maintain due diligence on their clients and thus generally have a higher level of comfort with transactions
in which both the remitter and beneficiary are clients.
94
   As demonstrated by the DB Matrix, some banks will apply more restrictive risk appetite policies for payments in
which the bank is an intermediary, while applying less restrictive or non-restrictive policies for payments that involve
a direct customer of the bank.


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allow for a client relationship with PDVSA, but (2) not allow its client to effect permissible

payments to another client of the bank.

         Based on my experience, PDVSA’s proposal to effectuate the payment in EUR (as opposed

to USD) was intended to alleviate some of the obstacles it had encountered with transactions in

USD. For example, when EUR transactions are processed by non-US person banks outside of US

jurisdiction, these banks often will not apply the same comprehensive OFAC Sanctions controls

as for USD transactions, provided the payment does not involve a US nexus (such as a US person).

At a minimum, this would help avoid some delays in relation to USD payments, which are

generally always subject to OFAC Sanctions controls regardless of location.

         It should be noted that repayments under the Note made by PDVSA via either of the two

alternative payment routes discussed above would still have been permitted by E.O. 13808. Given

that the underlying purpose of the payment from PDVSA is outside the scope of E.O. 13808—i.e.,

it is not a “new debt”—changing the route, banks, or currency used to the effect the payment would

not constitute an attempt to evade or avoid sanctions regulations, under E.O. 13808.95

VII.     Subsequent SDN Designations of PDVSA and Petróleo and the Implications of Same

         On January 28, 2019, OFAC designated PDVSA as a Specially Designated National

(“SDN”) pursuant to E.O. 1385096 (“PDVSA Designation”).                               Specifically, the PDVSA

Designation “blocks all property and interests in property of PDVSA subject to U.S. jurisdiction;

and prohibits U.S. persons from engaging in any activities or transactions with PDVSA.”97 In

contrast to the limited debt and equity prohibitions imposed on PDVSA by E.O. 13808, the




95
   Sec. 2. (a) of E.O. 13808 states that “any transaction that evades or avoids, has the purpose of evading or avoiding,
causes a violation of, or attempts to violate any of the prohibitions set forth in this order is prohibited.
96
   Office of Foreign Assets Control. (29 January 2018). Treasury Sanctions Venezuela’s State Owned Oil Company
Petroleos de Venezuela S.A., available at https://home.treasury.gov/news/press-releases/sm594.
97
   Treasury Sanctions Venezuela’s State Owned Oil Company Petroleos de Venezuela S.A.


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PDVSA Designation imposed a complete ban on activities and transactions involving PDVSA

Entities, unless exempt or otherwise authorized by OFAC.

         In blocking the property and interests in property of PDVSA Entities, the PDVSA

Designation effectively froze all funds, assets, and other property or interests in property of

PDVSA Entities within U.S. jurisdictions. Once property is blocked, no one may transact or

otherwise have any dealings in the property without authorization from OFAC. Any activities

involving PDVSA Entities that were previously allowed under E.O. 13808 became prohibited by

the PDVSA Designation, including any payments or other activities related to the Note and the

Note Agreement. However, OFAC also issued a series of general licenses98 concurrent with the

PDVSA Designation in order to authorize certain activities involving PDVSA Entities that were

permissible prior to the PDVSA Designation. One of these general licenses authorized U.S.

persons to continue engaging in certain dealings in debt issued by PDVSA Entities.

         A. PDVSA’s Repayments Under the Note Agreement Were Authorized,
            Concurrent to PDVSA’s SDN Designation, Pursuant to General License 9

         General License 9 “Authorizing Transactions Related to Dealings in Certain Debt”99 (“GL

9”) was one of the licenses issued concurrently with the PDVSA Designation on January 28, 2019.

Section (a) of GL 9 authorizes:

         all transactions and activities prohibited by Section l(a)(iii) of Executive Order
         13808 (E.O. 13808) or Executive Order 13850 that are ordinarily incident and
         necessary to dealings in any debt (including the bonds listed on the Annex to this
         general license, promissory notes, and other receivables) of Petroleos de
         Venezuela, S.A. (PdVSA) or any entity in which PdVSA owns, directly or
         indirectly, a 50 percent or greater interest (together, PdVSA-related debt), issued
         prior to August 25, 2017 (the effective date of E.O. 13808) . . . provided that any



98
   A license is an authorization from OFAC to engage in a transaction that otherwise would be prohibited. A general
license authorizes a particular type of transaction for a class of persons without the need to apply for a license from
OFAC.
99
   General License 9. Authorizing Transactions Related to Certain Dealings In Debt, Department of the Treasury (29
January 2018).


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        divestment or transfer of, or facilitation of divestment or transfer of, any holdings
        in such debt must be to a non-U.S. person.100

        The authorization in Section (a) applies to transactions and activities that are (1) “ordinarily

incident and necessary to dealings” in debt issued by PDVSA Entities prior to August 25, 2017,

and prohibited by E.O. 13850. The Note Agreement and the Note both represent debt issued by

PDVSA prior to August 25, 2017, and all transactions or activities relating to the Note Agreement

or the Note became prohibited pursuant the PDVSA Designation, or E.O. 13850. Accordingly,

PDVSA’s and Petróleo’s repayment obligations under the Note Agreement, both of which

represent transactions or activities “ordinarily incident and necessary” to PDVSA’s and Petróleo’s

respective performance under the Note Agreement, were authorized by GL 9, as well as by the

four superseding versions of GL 9 described below.

            1. General License 9A101 (“GL 9A”), issued February 1, 2019

        GL 9A continued to authorize activities authorized by GL 9, but introduced a new provision

authorizing transactions to facilitate, clear, and settle trades of holdings in PDVSA securities

placed before January 28, 2019.102 It also incorporated a new authorization for certain transactions

through March 2, 2019 to wind down financial contracts or other agreements entered into prior to

January 28, 2019 involving PDVSA securities issued prior to August 25, 2017.103 There were no

additional substantive changes.




100
    General License 9 at (a).
101
    General License 9A. Authorizing Transactions Related to Certain Dealings In Securities, Department of the
Treasury (1 February 2019).
102
    General License 9A at (c).
103
    General License 9A at (d).


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            2. General License 9B104 (“GL 9B”), issued February 11, 2019

        GL 9B continued to authorize activities authorized under GL 9A, but extended the deadline

to wind down financial contracts or other agreements involving or linked to PDVSA securities

from March 3, 2019 to March 11, 2019.105 Other changes simply clarified and re-ordered certain

license exceptions, but there were no additional substantive changes.

            3. General License 9C106 (“GL 9C”), issued March 8, 2019

        GL 9C continued to authorize activities authorized in GL 9B, but extended the expiration

date of the provisions relating to the wind down of certain financial contracts or other agreements

involving certain bonds and trades in certain PDVSA securities from March 11, 2019 to May 10,

2019.107 There were no additional substantive changes.

            4. General License 9D108 (“GL 9D”), issued April 17, 2019

        GL 9D continued to authorize activities authorized in GL 9C, but added explicit reference

to application of the license in connection with the SDN designation of the Central Bank of

Venezuela pursuant to E.O. 13808. It also extended the expiration date of the provisions relating

to the wind-down of certain financial contracts or other agreements involving certain bonds and

trades in certain securities from May 10, 2019 to September 30, 2019.109 There were no additional

substantive changes.




104
    General License 9B. Authorizing Transactions Related to Certain Dealings In Securities, Department of the
Treasury (11 February 2019).
105
    Genera License 9B at (d).
106
    General License 9C. Authorizing Transactions Related to Certain Dealings In Securities, Department of the
Treasury (8 March 2019).
107
    General License 9C at (d).
108
    General License 9D. Authorizing Transactions Related to Certain Dealings In Securities, Department of the
Treasury (17 April 2019).
109
    General License 9D at (d).


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         B. PDVSA’s Payments Due Under the Note Were Authorized Despite the
            Government of Venezuela’s SDN Designation Pursuant to General License 9E

         On August 5, 2019, OFAC designated the GoV as an SDN (“GoV Designation”) pursuant

to Executive Order 13884 (“E.O. 13884”).110                    This action had additional implications for

PDVSA’s and Petróleo’s obligations under the Note Agreement and the Note.

         Section 1 (a) of E.O. 13884 states:

         all property and interests in property of the Government of Venezuela that are in
         the United States, that hereafter come within the United States, or that are or
         hereafter come within the possession or control of any United States person are
         blocked and may not be transferred, paid, exported, withdrawn, or otherwise dealt
         in.111
Section 3 of E.O. 13884 clarifies that:

         prohibitions in section 1 of this order include: (a) the making of any contribution
         or provision of funds, goods, or services by, to, or for the benefit of any person
         whose property and interests in property are blocked pursuant to this order; and (b)
         the receipt of any contribution or provision of funds, goods, or services from any
         such person.112


The GoV Designation thus extended the same blocking provisions and related prohibitions

imposed on PDVSA Entities by the PDVSA Designation, to the GoV in its entirety.113

         The PDVSA Entities were subject to the GoV Designation by way of their state ownership.

As a result, payments due under the Note and Note Agreement were now blocked pursuant to the

GoV Designation, by way of its application to the PDVSA Entities.114 Consequently, GL 9D,



110
    Executive Order 13884 (5 August 2019).
111
    Executive Order 13884, Section 1(a).
112
    Executive Order 13884, Section 3.
113
    Section 6(d) of E.O. 13884 defines the term “Government of Venezuela” as “the state and Government of
Venezuela, any political subdivision, agency, or instrumentality thereof, including the Central Bank of Venezuela and
Petroleos de Venezuela, S.A. (PdVSA), any person owned or controlled, directly or indirectly, by the foregoing, and
any person who has acted or purported to act directly or indirectly for or on behalf of, any of the foregoing, including
as a member of the Maduro regime.”
114
    For PDVSA, the implication of being designated separately under two authorities, E.O. 13808 and E.O. 13884
meant that a license applicable to just one of the two designations would no longer be sufficient to permit certain
activities.


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which provided authorization for certain activities prohibited by the PDVSA Designation but not

by the GoV Designation, was no longer sufficient to permit transactions related to the Note and

Note Agreement.

        On August 5, 2019, however, OFAC issued General License 9E115 (“GL 9E”), which

continued to permit activities authorized by GL 9D, but extended the application of the

authorization in Section (a) of General License 9D to include activities prohibited by the GoV

Designation (E.O. 13884), or “E.O. of August 5, 2019”, as it is identified in the license.

        Section (a) of GL 9E provides:

        all transactions and activities prohibited by Section l(a)(iii) of Executive Order
        (E.O.) 13808 or by E.O. 13850, as amended by E.O. 13857 of January 25, 2019, or
        by E.O. of August 5, 2019 that are ordinarily incident and necessary to dealings in
        any debt (including the bonds listed on the Annex to this general license,
        promissory notes, and other receivables) of, or any equity in, Petróleos de
        Venezuela, S.A. (PdVSA) or any entity in which PdVSA owns, directly or
        indirectly, a 50 percent or greater interest, issued prior to August 25, 2017 (the
        effective date of E.O. 13808) (together, PdVSA securities), are authorized,
        provided that any divestment or transfer of, or facilitation of divestment or transfer
        of, any holdings in such PdVSA securities must be to a non- U.S. person.116

The issuance of GL 9E concurrent with the GoV Designation meant that the activities previously

authorized by GL 9D in connection with the Note Agreement and Note were in fact still authorized

from the time of the GoV Designation.

        GL 9E has been re-issued on two separate occasions as follows.




115
    General License 9E. Authorizing Transactions Related to Certain Dealings In Securities, Department of the
Treasury (5 August 2019).
116
    General License 9E, Section 1(a).


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            1. General License 9F117 (“GL 9F”), issued on September 30, 2019

        GL 9F continued to authorize activities in 9E, but extended the deadline related to the wind

down of financial contracts or other agreements entered prior to January 28, 2019 involving

securities issued by PDVSA prior to August 25, 2017, through March 30, 2020.118 There were no

other substantive changes.

            2. General License 9G119 (“GL 9G”), issued on May 12, 2019

        GL 9G continued to authorize the activities authorized by GL 9F, but removed references

relating to dealings in any bonds issued by Nynas AB throughout, which as a consequence of its

corporate restructuring, were no longer relevant. There were no additional substantive changes.

        Despite the various changes made in the successive versions of GL 9, the authorization in

Section (a) providing for transactions and activities ordinarily incident and necessary to dealings

in the Note Agreement and the Note, have remained in effect at all times since GL 9 was issued

on January 28, 2019. The payment obligations of PDVSA and Petróleo were thus permitted

notwithstanding the PDVSA Designation and the GoV Designation.

VIII. Conclusion

        At no time since the imposition of E.O. 13808 on August 25, 2017, did U.S. sanctions make

it impossible for PDVSA to fulfill its repayment obligations to D-R under the Note and the Note

Agreement. In fact, since August 25, 2017, PDVSA’s repayment obligations under the Note and

Note Agreement have been permitted and authorized by the relevant U.S. sanctions program,

namely, E.O. 13808, the PDVSA Designation, and the GoV Designation.




117
    General License 9F. Authorizing Transactions Related to Certain Dealings In Debt, Department of the Treasury
(30 September 2019).
118
    General License 9F at (d).
119
    General License 9G. Authorizing Transactions Related to Certain Dealings In Debt, Department of the Treasury
(12 May 2020).


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                                         Appendix A – Qualifications

Qualifications
                 Founder & Principal, 2018 – Present
                 Vigilance Consulting Group, New York, NY
                  - Provide economic sanctions compliance consulting and investigation services in a
                    wide range of different contexts
                  - Services include developing or enhancing compliance programs and controls;
                    advising on high risk activities and risk-mitigation strategies; performing
                    sanctions due diligence and risk analysis; providing guidance on sanctions
                    regulations; assisting with voluntary self-disclosures, OFAC license applications,
                    enforcement proceedings, and mandatory reporting; administering general and
                    technical sanctions training; conducting investigations and audits; and remediating
                    compliance issues
                  - Clients include foreign financial institutions as well as companies in financial
                    services, import/export, tech, medical, petrochemical, and non-profit sectors

                 Director, Head of U.S. Sanctions Compliance, 2017 – 2018
                 Bank of Tokyo Mitsubishi UFJ, Ltd., New York, NY
                  - Served as U.S. Sanctions Head and one of two appointed OFAC officers for the
                    firm
                  - Supervised all aspects of sanctions compliance for BTMU U.S. entities including
                    screening, escalations, advisory, policies/procedures, program development,
                    regulatory exams, investigations, and reporting
                  - Advised global offices on OFAC related investigations, escalations, and other
                    advisory matters
                  - Managed team of 18+ employees, including sanctions officers, investigators, and
                    analysts

                 Director, Head of Sanctions Compliance, 2015 – 2017
                 Commerzbank AG New York, New York, NY
                  - Served as regional Sanctions Head for the New York branch, and OFAC officer
                    for the firm
                  - Supervised all aspects of sanctions compliance including sanctions screening,
                    payment escalations, advisory, policies/procedures, training, license applications,
                    investigations, and reporting
                  - Advised Global Sanctions team in Frankfurt on complex OFAC-related matters
                  - Managed team of five sanctions officers and analysts


                 Vice President/ Manager, Global Sanctions Compliance Advisory, 2012 – 2015
                 JPMorgan Chase & Co., Global Financial Crimes Compliance, New York, NY
                  - Served as one of two advisors on the Global Sanctions Compliance Advise &
                    Consult team
                  - Advised on sanctions escalations originating from all lines of business and regions
                    across the firm; supervised mandatory reporting and policy/procedure writing;



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                 submitted license applications for the firm; provided training to regional and
                 product sanctions officers and the business; and supported client outreach
             -   Assigned to Hong Kong for 3 months to train and support the APAC regional
                 financial crimes compliance team, as well as to providing financial crimes training
                 to various business units and correspondent banking clients within the region

            Sanctions Enforcement Investigator (GS 13), 2007 – 2012
            U.S. Dept. of the Treasury, Office of Foreign Assets Control, Washington, DC
             – Initiated and conducted investigations and brought enforcement actions against
               banks, exporters, technology companies, and transportation companies for
               sanctions misconduct
             – Worked on large multi-agency investigations involving sanctions evasion
               networks, terrorism financing, and money laundering
             – Provided sanctions training to law enforcement, foreign delegations, and industry
               associations
             – Recipient of three Special Act Awards for personal contribution to the mission of
               the agency

            Research Analyst, 2006 – 2007
            Williams Mullen Strategies, Washington, DC
               Conducted research on energy and foreign policy matters

            Intern, 2005 – 2006
            Department of the Army, Office of Chief Legislative Liaison, Washington, DC
               Assisted in organizing Congressional Delegations and conducted investigations
               pursuant to Congressional inquiries

            Intern Analyst, 2005
            C4ADS (Center for Advanced Defense Studies), Washington, DC
               Prepared analysis and reporting on counterproliferation, organized crime, and
               environmental crime

Education   The George Washington University, Washington, DC, 2008
            Elliott School of International Affairs/University Honors Program, BA, suma cum laude
            Degree Majors: Conflict & Security Studies; Concentration: Middle East Studies, Arabic
                Recipient of Edward Gnehm Honors Scholarship for Arabic Language Studies

            Georgetown University, Washington, DC, 2007
               Intensive Summer Language Institute for Arabic Study
               Completed coursework in Levantine Arabic and Advanced Modern Standard Arabic


            American University of Beirut, Lebanon, 2006
              Completed Arabic coursework and graduate coursework in Middle East political science
              studies




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               Universität Augsburg, Germany, 2004
                     Advanced German summer program


Training        Letters of Credit and Trade Finance, U.S. Treasury Dept., 2010
                Proliferation Networks and Financing, government agency, 2010
                Economic Sanctions, government agency, 2010
                Arabic and Farsi continuing language courses, Middle East Institute, 2009-2012
                Underground Economies, government agency, 2009
                Islamic Banking, government agency, 2009
                World Oil Markets, government agency, 2009
                International Banking Operations, government agency, 2009
                Criminal Investigator Training Program, Federal Law Enforcement Training Center,
                2009
                Banking & Money Laundering, Federal Law Enforcement Training Center, 2008

Publications    No publicly available publications




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                           Appendix B – Materials Reviewed

Legal Documents

 • Memorandum of Law in Support of Plaintiff’s Motion for Summary Judgment in Lieu
   of Complaint (ECF No. 1-1)
 • Affidavit of Erik Scherzer in Support of Motion For Summary Judgment in Lieu of
   Complaint (ECF No. 1-1)
 • Defendants’ Memorandum of Law in Opposition to Plaintiff’s Motion for Summary
   Judgment In Lieu of Complaint (Modified) (ECF No. 53)
 • Declaration of Robin L. Muir in Opposition to Plaintiff’s Motion for Summary
   Judgment In Lieu of Complaint (Modified) (ECF No. 54)
 • Reply Memorandum of Law in Further Support of Plaintiff’s Motion for Summary
   Judgment (ECF No. 55)
 • Declaration of Anna Wilson in Further Support of Plaintiff’s Motion for Summary
   Judgment (ECF No. 56)
 • Reply Declaration of Erik Scherzer in Further Support of Plaintiff’s Motion for
   Summary Judgment (ECF No. 57)
 • Declaration of Jordan W. Siev in Further Support of Plaintiff’s Motion for Summary
   Judgment (ECF No. 58)
 • Opinion & Order dated February 11, 2020 (ECF No. 59)


Bates Numbered Documents

 •   DRESSER_0004249
 •   DRESSER_0004238
 •   DRESSER_0004251
 •   DRESSER_0004253
 •   DRESSER_0004256
 •   DRESSER_0004259
 •   DRESSER_0004327
 •   DRESSER_0004332
 •   DRESSER_0004333
 •   DRESSER_0004337
 •   DRESSER_0058538
 •   DRESSER_0058813
 •   DRESSER_0058869
 •   DRESSER_0058885
 •   DRESSER_0058895
 •   DRESSER_0058907
 •   DRESSER_0059611
 •   DRESSER_0059630
 •   DRESSER_0059651
 •   DRESSER_0059815


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 •   DRESSER_0059847
 •   DRESSER_0059589
 •   DRESSER_0060240
 •   DRESSER_0061897
 •   DRESSER_0060459
 •   CBNY00001 – CBNY00279
 •   DBTCA000001 – DBTCA000004

Deposition Transcripts

 • Deposition of Citibank N.A. by and through its corporate representative Raymond G.
   Romano conducted on October 1, 2020
 • Deposition of Commerzbank AG, by and through its corporate representative Jennifer
   Yang conducted on October 7, 2020
 • Deposition of Erik Scherzer conducted on October 9, 2020

Other Documents

 • Documents produced by Citibank N.A. in response to PDVSA’s subpoena
 • Documents produced by Deutsche Bank Trust Company Americas in response to
   PDVSA’s subpoena
 • Exec. Order No. 13692, 80 Fed. Reg. 12747 (March 8, 2015)
 • Exec. Order No. 13808, 82 Fed. Reg. 41155 (Aug. 25, 2017)
 • Exec. Order No. 13827, 83 Fed. Reg. 12469 (March 19, 2018)
 • Exec. Order No. 13835, 83 Fed. Reg. 24001 (May 21, 2018)Exec. Order No. 13850, 83
   Fed. Reg. 55243 (Nov. 1, 2018)
 • Exec .Order No. 13857, 84 Fed Reg. 509 (January 25, 2019)
 • Exec. Order No. 13884, 84 Fed. Feg. 38843 (Aug. 5, 2019)
 • Venezuela Sanctions Regulations, 80 Fed. Reg. 39676 (July 10, 2015)
 • Venezuela Sanctions Regulations, 84 Fed. Reg. 64416 (November 22, 2019)
 • Reporting, Procedures and Penalties Regulations; Transnational Criminal Organizations
   Sanctions Regulations, 77 Fed. Reg. 1864 (January 12, 2012)
 • Reporting, Procedures and Penalties Regulations, 84 Fed. Reg. 29055 (June 21, 2019)
 • General License 9. Authorizing Transactions Related to Certain Dealings In Securities,
   Department of the Treasury (Jan. 29, 2018)
 • General License 9A. Authorizing Transactions Related to Certain Dealings In Securities,
   Department of the Treasury (Feb. 1, 2019)
 • General License 9B. Authorizing Transactions Related to Certain Dealings In Securities,
   Department of the Treasury (Feb. 11, 2019)
 • General License 9C. Authorizing Transactions Related to Certain Dealings In Securities,
   Department of the Treasury (Mar. 8, 2019)
 • General License 9D. Authorizing Transactions Related to Certain Dealings In Securities,
   Department of the Treasury (April 17, 2019)
 • General License 9E. Authorizing Transactions Related to Certain Dealings In Securities,
   Department of the Treasury (Aug. 5, 2019)


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 • General License 9F. Authorizing Transactions Related to Certain Dealings In Securities,
   Department of the Treasury (May 12, 2020)
 • Determination Pursuant to Executive Order 13850 of November 1, 2018, as Amended,
   Department of the Treasury (January 28, 2019)
 • Determination Pursuant to Executive Order 13850 of November 1, 2018, as Amended,
   Department of the Treasury (March 22, 2019)
 • Determination Pursuant to Executive Order 13850 of November 1, 2018, as Amended,
   Department of the Treasury (May 9, 2019)
 • Revised Guidance on Entities Owned By Persons Whose Property and Interests in
   Property Are Blocked, Department of the Treasury (August 13, 2014)
 • A Framework for OFAC Compliance Commitments, Department of the Treasury (May
   23, 2019)
 • Office of Foreign Assets Control. Treasury Sanctions Venezuela’s State Owned Oil
   Company Petroleos de Venezuela S.A. January 29, 2018.
   https://home.treasury.gov/news/press-releases/sm594. Accessed 11/2/20.
 • Office of Foreign Assets Control. Frequently Asked Questions: Venezuela Sanctions
   (No. 548). November 9, 2017. https://home.treasury.gov/policy-issues/financial-
   sanctions/faqs/topic/1581. Accessed 11/2/20.
 • Office of Foreign Assets Control. Frequently Asked Questions: Venezuela Sanctions
   (No. 511). July 19, 2018. https://home.treasury.gov/policy-issues/financial-
   sanctions/faqs/topic/1581. Accessed 11/2/20.
 • Office of Foreign Assets Control. Frequently Asked Questions: Venezuela Sanctions
   (No. 554). February 12, 2018. https://home.treasury.gov/policy-issues/financial-
   sanctions/faqs/topic/1581. Accessed 11/2/20.
 • Office of Foreign Assets Control. Frequently Asked Questions: Venezuela Sanctions
   (No. 661). May 12, 2020. https://home.treasury.gov/policy-issues/financial-
   sanctions/faqs/topic/1581. Accessed 11/2/20.




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